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                                                                       June 16, 2020
Via ECF
District Judge J. Nicholas Ranjan
United States District Court
Western District of Pennsylvania
700 Grant Street
Pittsburgh, PA 15219

Re:      Deidra Hubay et al vs. Janelle Marina Mendez et al
         Civil Action No.: 2:19-cv-1327
         File No.: 999.4788

Dear Judge Ranjan:

We represent the defendants in connection with the above-reference matter and are writing the Court
to object to plaintiffs’ Findings of Facts and Conclusions of Law.

The plaintiffs’ Findings of Facts and Conclusions of Law should be rejected by the Court since they
are attempting to submit a Declaration from a witness who was not disclosed to the defendants and
was not produced at the hearing. By attempting to rely of this new witness’s statements without the
opportunity of cross-examination is extremely prejudicial to defendants. In addition, plaintiffs rested
and advised the Court they had no further witnesses, by trying to introduce testimony after plaintiffs
have rested and after the hearing was concluded is improper and places the defendants at an unfair
disadvantage.

Furthermore, plaintiffs’ Findings of Facts and Conclusions of Law is improper and should be
precluded by the Court since plaintiffs attempt to submit exhibits which were not part of the record.
By plaintiffs introducing evidence which was not presented at the hearing give plaintiffs an unfair
advantage as they get to rely on documents without defendants having an opportunity to address
and/or contest same.
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              THE LAW OFFICES OF
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Mr. David G. Oberdick
June 16, 2020                                                 Re:     Hubay vs. Mendez
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Finally, plaintiffs violated this Court Order wherein the length of the post hearing briefs were not
to exceed 20 pages. Plaintiffs’ Findings of Facts and Conclusions of Law consist of 51 pages which
exceed the limit imposed by the Court by 31 pages. Again, plaintiffs attempts to get an unfair
advantage over defendants by submitting their post hearing briefs in excess of the Court’s page
limits.

Given the plaintiffs’ flagrant disregard to this Court’s Order and their improper submission of
evidence and documents which were not disclosed and produced at the hearing renders their
submission improper and the only remedy is to preclude plaintiffs’ submission. If the Court allows
the submission by plaintiffs it will put plaintiffs in an unfair advantage while severely prejudicing
the defendants. As a result it is respectfully requested that the Court strike plaintiffs’ Findings of
Facts and Conclusions of Law and not consult same in its determination of the pending motions.

Thank you for you judicial attention to this matter.

                                                              Respectfully yours,

                                                              THE LAW OFFICES OF
                                                              ROBERT G. ANDROSIGLIO, P.C.

                                                                         /S/

                                                              Robert G. Androsiglio
RGA/kd

cc:    David G. Oberdick, Esq., Via ECF
